                     UNITED STATES DISTRICT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA      )
                              )
                              )
v.                            )       Case No. 22-cr-00015-APM
                              )
STEWART RHODES, et. al.,      )
                              )
                              )
                Defendants    )
                              )



       DEFENDANT ROBERTO MINUTA’S MOTION IN LIMINE NO. 2 --

     TO EXCLUDE 404(B) EVIDENCE AS NOTICED BY THE GOVERNMENT




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      NOW COMES Defendant Roberto Minuta, by and through his counsel of

record, William L. Shipley, Esp., and respectfully request this Honorable Court

issue an in limine Order precluding the Government from referencing during

direct or cross-examination of any witness, or seeking to introduce other “bad

act” evidence as set forth in the notice filed by the Government on October 17,

2022, ECF Doc. No. 374.

      Federal Rule of Evidence 404(b)(1) provides that “[e]vidence of other

crimes, wrongs, or acts is not admissible to prove the character of a person in

order to show action in conformity therewith.” Michelson v. United States, 335

U.S. 469, 475–76, 69 S.Ct. 213, 218–19, 93 L.Ed. 168 (1948).

      The Government has provided notice pursuant to the Rule with regard to

historical matters involving Mr. Minuta alone, and involving Mr. Minuta and

Mr. Stewart Rhodes that is not in any way connected to the allegations of the

indictment. The matters involve the following:

      1. May 30, 2020 “Freedom Rally” in Newburgh, New York.

      The Notice alleges that this event, and the proposed testimony/evidence

concerning the event fall within Rule 404(b) because, “This evidence tends to

prove and contextualize Minuta’s relationship with the leader of the

charged conspiracy, Stewart Rhodes, and the Oath Keepers, generally, and is

thus intrinsic to the charged conspiracy.”

      What that sentence is supposed to mean is not explained.




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      It is black letter law that such evidence can only be admitted to show

“motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

mistake, or lack of accident.”

      The closest the Government notice comes to making even an effort is to

claim the events in Newburg, New York on Memorial Day Weekend 2020 are

“inextricably intertwined” with the charged conspiracies.

      The Government mixes together without rhyme or reason the concepts of

“inextricably intertwined” 404(b) evidence and direct/circumstantial evidence of

association between two alleged co-conspirators. The events in Newburg, New

York more than seven months prior to January 6 are not “inextricably

intertwined” with alleged conspiracies charged in this case. As conceptualized

by the Government, the conspiracies in this case did not begin until after the

November 2020 election.

      The Government offers no evidentiary hypothesis as to why evidence of

the events of May 30, 2000, support the idea that Mr. Minuta joined a

conspiracy that didn’t allegedly begin for another five months, and was not part

of an uninterrupted string of events that were part of a common scheme, or for

any other purpose pursuant to Rule 404(b).

      The problem is, however, that the Government has already “given away

the game.” At page 6, the Government writes:

             “Indeed, Minuta’s acts provide evidence of his intent and state of
      mind when he involved himself with Rhodes and the Oath Keepers—
      awash with an intent to defy what he viewed as a tyrannical
      government’s unconstitutional acts, the same intent and state of mind he
      is alleged to have had when he later joined Rhodes and others in a
      conspiracy to oppose the government of the United States by force.


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        According to the Government, committing a peaceful act of public protest

and civil disobedience – advertised far and wide with advance notice given to

public authorities and law enforcement -- is evidence of the same “intent” and

“state of mind” as possessed by alleged seditious conspirators seeking to use

force to overthrow a duly elected government.

        The absurdity of that suggestion makes it hard to push through the

inputs of a keyboard. Civil Rights leaders of the past 75 years would turn over

in their graves at such a suggestion by the “Department of Justice” in this

case.

        Rule 404(b)(1) states that “other crimes” evidence is not admissible to a

show a defendant’s character in order to show that he acted in accordance with

the character in connection with the charged offense. The government cannot

string together enough case cites to cover-up the fact that this is their unstated

purpose – to suggest to the jury that a willingness to defy a shutdown order in

May of 2020 is evidence of a willingness to overthrow the Government by force

in January 2021 – skipping over for a moment the fact that Mr. Minuta didn’t

bring anything from New Jersey to arm himself with.

        United States v. Diaz, 608, 614-16 & n.2 (2nd Cir. 1989), cited by the

Government, is not even a 404(b) case. The evidence in question predated the

beginning date of the charged conspiracy, but the Court noted that the

indictment alleged that the conspiracy began “on or about” March 1, 1987, and

the evidence at issue was from February 20, 1987. Id., at 615, n.2. More



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significantly, the evidence was part of a continuing series of events that were

all part of the charged conspiracy. The Second Circuit affirmed the admission

of the evidence not on 404(b) grounds but simply because it was all relevant

evidence to the conspiracy under Rule 401.

       United States v. Bates, 600 F. 2d 505, 509 (5th Cir. 1979) – also cited

by the Government – stands for a completely different proposition based on its

facts, and the government’s citation to the case borders on frivolous.

       In Bates, three defendants were charged with a conspiracy lasting

approximately two years. Id., at 508. Defendant Bates, however, was alleged

to have joined the conspiracy more than five months after it had begun. Id., at

508-09. On appeal, Defendant Bates claimed that the evidence of overt acts by

the other two co-conspirators that took place before he joined the conspiracy

were “extraneous” and should not have been considered against him. Id., at

509.

       As was true in Diaz, the Fifth Circuit said the evidence at issue was not

covered by Rule 404(b). Id. (“The testimony was not evidence of other crimes

committed by Bates himself…. Rather, the testimony was fully admissible

evidence of the existence of an ongoing conspiracy as charged in the

indictment. ” Id.

       Bates might have some utility in the case if the Government were to

allege that the Freedom Rally in Newburgh, New York on May 30, 2020, was a

“dry run” for the alleged efforts on January 6, 2021.




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         In United States v. McGill, 815 F.3d 846, 884 (D.C. Cir. 2016)1 “Evidence

of preconspiracy drug dealing was also admissible for the nonpropensity

purpose of proving the relationships among coconspirators.” But there is no

factual dispute with respect to whether Mr. Minuta and Mr. Rhodes know each

other. The trial will include a significant volume of evidence regarding their

relationship and Mr. Minuta’s membership in the Oath Keepers. To the extent

there is any doubt, Mr. Minuta will stipulate to the relationship and that Mr.

Rhodes visited him in Newburgh.

         United States v. Burwell, 642 F.3d 1062 (D.C. Cir. 2011) was a RICO

prosecution involving bank robberies and other criminal activity. The evidence

in question was determined to be admissible not under Rule 40(b) – in fact, the

D.C. Circuit held it was not proper 404(b) evidence. The evidence involved

three carjackings, the theft of forty cars, and use of false names, and was

admitted for a variety of purposes, “[I]ncluding the theory that it demonstrated

Appellants' modus operandi and identities. We agree with Appellants that

admission for either of those purposes was improper.” Id. at 1066.

         But the D.C. Circuit found the evidence was admissible to prove the

“association in fact” element of the RICO conspiracy charge. Id. On that basis,

admission of the evidence under a 404(b) rubric was not “error” as it was

otherwise admissible evidence on an element of the charged offense.


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 It is worth noting that the McGill Court held that no objection had been made during trial to the Rule 404(b)
evidence therefore it would consider the claims with regard to that evidence only for “plain error.” In addition, the
Court found certain aspects of the preconspiracy drug dealing was admitted only to show “propensity” which is a
prohibited purpose. “We note, though, that the district court also concluded that this evidence was admissible to
show Seegers's “readiness and ability to join the conspiracy.” J.A. 1341. That, however, is just forbidden propensity
evidence by another name.” McGill, 815 F.3d at 884.


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      The ulterior motive of the Government here is to paint Mr. Minuta as

someone who was willing to agree to and participate in the conspiracies as

charged in this case, based on an act of civil disobedience seven months

earlier. This is a classic and undeniable effort to use 404(b) as an avenue to

prove “propensity” with “bad acts” evidence that has no relationship to the

charged offenses. On that basis, Defendant Roberto Minuta requests an in

limine order precluding the Government from referencing or seeking to admit

any evidence in its case-in-chief with respect to the “Freedom Rally” in

Newburg, New York in late May, 2020.



Dated: November 7, 2022                     Respectfully submitted,

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